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                         LINITED STATESDISTRICTCOURT
                            DISTRICTOF CONNECTICUT


IM PARTNERSandits GeneralPartner              )     Civil Action No.
DNAIEL E. MARINO,                             )     3:04-CV-1651  (JCH)
                                              )
                   Plaintiffs,                )     NOTTCEOF
VS.                                           )     MOTION TO DISMISS
                                              )
DEBIT DIRECTLIMITED, EtAI.                    )
                                              )
                   Defendants                 )

To:   ThomasJ. Williams,Esq.
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      Barry Kennedy,Debit Direct Limited'
      SkancoBusinessSystemsLimited and
      RestartLimited

      Pleasetakenoticethat on Febmary28,2005,at 10:00a.m.'or assoonthereafteras

counselcanbe heard,in courlroomof theHonorableJanetc. Hall, united statescourt House,

                                              Jacko'Halloran will bring the abovemotion
915LafayetteBlvd., Bridgeport,cT, the defendant

on for hearinq.
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Dated:January31,2005
                                  THE DEFENDANT
                                  JACKO'HALLORAN


                                  BY/s/
                                    PAUL L. BROZDOWSKI
                                    Law Officesof PaulBrozdowski,LLC
                                    10MiddleStreet,7'r'Floor
                                    Bridgeport,CT 06604
                                    JurisNo.412352
                                    CTBar:02258
                                    (203)367-9447
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                            LTNITEDSTATESDISTRICTCOURT
                              DISTRICTOF CONNECTICUT


IM PARTNERSandits GeneralParlner                    )      Civil Action No.
DNAIEL E. MARINO,                                   )      3:04-CV-1651  (JCH)
                                                   )
                      Plaintiffs,                  )
vs.                                                )       MOTION TO DISMISS
                                                   )
DEBITDIRECTLIMITED,et al.                          )
                                                   )
                      Defendants                   )

       Jack O'Halloran, one of the defendantsherein,by Paul L. Brozdowski, his attomey,

moves the court to dismiss the plaintiffs' complaint as to the moving defendantonly, on the

ground that the complaint fails to statea claim againstthis defendanton which reliefcan be

granted,and to dismiss this defendantfrom the action, with prejudice.

Dated: January3 1, 2005
                                            THE DEFENDANT
                                            JACKO'HALLORAN


                                            BY/s/
                                              PAUL L. BROZDOWSKI
                                              Law OfficesofPaulBrozdowski,
                                                                        LLC
                                              10Middle Street,7'" Floor
                                              Bridgeport,CT 06604
                                              JurisNo. 412352
                                              CT Bar: 02258
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                             UNITED STATESDISTRICTCOURT
                               DISTRICTOF CONNECTICUT


IM PARTNERSandits GeneralPafiner                    )       Civil Action No.
DANIEL E. MARINO,                                   )       3:04-CV-1651  (JCH)

                       Plaintiffs.
VS.


DEBITDIRECTLIMITED, et al.

                       Defendants


                                 DefendantJack O'Halloran's
                                    Memorandum of Law
                              in Supnort of His Motion to Dismiss


1.     Introduction

                                                         by O'Halloran - without alleging a
       This Complaint allegesfraudulent misrepresentations

single fact to support the allegation.

       It allegesthat O'Halloran fraudulently inducedthe plaintiffs to sign a document- but that

documentdid not commit the plaintiffs to do anything at all.

       It allegesthe fraudulent sale by O'Halloran of stock in Debit Direct - without ever dirctly

claiming that the plaintiffs purchasedthe stock and/or are shareholdersof Debit Direct.

       It allegesa total amount paid for the stock' $2,000,000- that documentaryevidence

provesto be exaggerated
                      by half a million dollars.
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       The plaintiffs claim they have "information" causingthem to "believe" they were victims

ofan organizedconspiracy- but they stateneither the information nor the basis for the belief.

       They claim that O'Halloran led the conspiracy- but specifically omit O'Halloran from

the list ofthose allegedly profiting from the scheme,thus providing him with no motive to do so.

       They claim O'Halloran's conflicts of interestled him to breacha fiduciary duty - and then

do not identify a single conflict ofinterest.

       Finally, the plaintiffs claim that the only results of this monstrous(albeit imaginary)

conspiracywere cerlain businessdecisionsof Debit Direct - that were perfectly legal and

reasonable.

       What is now beforethis Courlhasall of theearmarksof a strikesuit pureandsimple!

The Complaintagainstthe defendantJackO'Halloranshouldbe dismissedforthwith,andthe

Courtshouldapplyeverysanctionin its arsenalagainsttheplaintiffsandtheir counselfor

bringingthisfrivolousaction.

2.     The UnitedStatesSupremeCourt doesnot allowstrike suitsto survivea motionto

       dismiss.

       Accordingto ChiefJusticeRehnquist,a strikesuit is onethat (a) hasvery little chanceof

                                  valueto theplaintiffsout ofany proportionto its prospectof
      at trial, (b) hasa settlement
success

      at trial, and(c) pennitstheplaintiffsto makeuseofliberal Federaldiscoveryprocedures
success

to prolonglitigationandenticedefendants             ofotherwisespuriousclaimssolongas
                                      into settlement

theplaintiffscan preventthe suit from beingresolvedagainstthemby dismissalor summary

judgment.BfueChip Stampsv. Manor Drug Stores.421U.S.723,740(1915).
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                                                                                     "pro1ix,"
        The SecondCircuit can recognizea strike-suit-Complaintwhen it seesone. It is

"discursive," "lengthy," "is an 'everything but the kitchen sink' type of pleading which would


give plaintiff s attomey carte blanche in the areaofliberal federal discovery," contains

"generalities" and "conclusory allegations,"and "is anything but the simple, direct, and concise


statementmandatedby Fed.R.Civ.P.8(e)."Decker v. Massey-Ferguson.Ltd., 681 F.2d 111at

                                                          Complainthereinagainst
pp. I i4 and 115 (2nd Cir. 1982). The 59-page,|82-paragraph

O'Halloran and his co-defendantsfits preciselythe strike-suit paradigm identified by the Blue

Chip and Decker courts.

3.      It is the anplication of Federal nleading rules - which thesenlaintiffs have ignored -

        that protects defendantslike O'Halloran from being victimized by strike suits.

        When faced with this kind of prolix and discursiveComplaint, the patienceof the Court

is required because"it is impofiant that the wheat in plaintiff s pleading be separatedfrom the

chaff." Decker, supra,at p. 115.

                                                       "wheat" at all, depends,accordingto Blue
        Whether or not such separationproducesany

Chip and its progeny, on the complaint's compliancewith Federalrule 9(b) - the directive to

statefraud claims with parlicularity. The first clue that a complaint lacks factual particularity is

its failure to comply with Federal Rule 8(e) - which demandsthat plaintiffs statetheir claims

concisely.Decker, supra. The Complaint herein defies both rules. Rule 9(b) is designed

"provide a defendantwith fair notice ofa plaintiffs claim, to safeguarda defendant'sreputation

       'improvident
from                  chargesof wrongdoing,'and to protect a defendantagainstthe institution ofa

strikesuit." O'Brien v. National Property Analysts Partners,936 F.2d 674,676 (2dCit.
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1992).

4,       The Complaintalleses"fraudulentmisrenresentations"
                                                         without quotingany

         reDresentationsat all.

         Starling at paragraph44 of this 182-paragraphComplaint, there appearsby actual count

56 separatereferencesto fraudulent misrepresentations
                                                    by O'Halloran that are labeled

"Prospectsof Debit Direct," "Fufther RepresentationsRegarding
                                                              the Prospectsof Debit Direct,"

and "RequiredFunding." Not a singleone ofthese 56 allegationsincludeswhat was actually

said or in what respectit was untrue, let alone intentionally misleading. (Paragraph44 simply

identifies,"numerousoral representations           a phrasethat is not amplifiedin any of
                                      respecting...,"

the Complaint'sremaining48 pages.)

         SecondCircuit standardsrejecting suchverboseand conclusorypleadingsare not hard to

comeby:

         This CourthasreadRule 9(b) to requirethata complaint"(1) specifythe
         statementsthat theplaintiff contendswerefraudulent,(2) identifythe speaker,(3)
         statewhereandwhenthe statements      weremade,and(4) explainwhy the
         statementswerefraudulent."   Mills v. PolarMolecularCory.,12F.3d1170,1175
         (2dCir. 1993).Similarly,thePSLRA,whichappliesin thisrespectonlyto claims
         broughtunderthe ExchangeAct, requiresthatany securitiesfraudcomplaint
         allegingmisleadingstatements   or omissionof materialfact must"specifyeach
         statementallegedto havebeenmisleading,thereasonor reasonswhy the
         statementis misleading,and,if anallegationregardingthe statement    or omission
         is madeon informationandbelief,the complaintshallstatewith particularityall
         factson whichthatbeliefis formed."15U.S.C.$ 78u-a@Xt).As thedistrict
         courtobserved,the particularityrequirement  of Rule 9(b) appliesto securities
         fraudclaimsbroughtunderSection10(b)andRule10b-5.

                              Rombachv. Chang,355F.3d164,170(2nd,cir.2004)

                                                   the "prospects"of Debit Directandthen
         Theplaintiffsallegethat O'Hallorandiscussed
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appendto this allegation of forward-looking statementsmerely the conclusionthat this was done

with fraudulent intent. But the Rombach court specifically rejectedthis "pleading technique."

       As this Court has observed,a "pleadingtechnique[that] couple[s] a factual
       statementwith a conclusory allegationof fraudulentintent" is insufficient to
       "supporl the inferencethat the defendantsactedrecklesslyor with fraudulent
       intent." Shields[v. Cit]rtrustBancom.Incl. 25 F.3d at 1129.Plaintiffsdo not
       allege facts and circumstancesthat would supportan inferencethat defendants
       knew of specific facts that are contrary to their public statements.

                                     Rombach.sapra,335 F3rd at 176.

       Characteristicofthe Complaint's deceptivelynon-specificpleading techniqueis

paragraph46:

       46. Thereafter,Plaintiff and its generalpartnerswere contactedon numerous
       occasionsby DefendantsO'Halloran, Butterworth and Kelly...in eachcasemaking
       further representations...regardingthe prospectsof Debit Direct.

The SecondCircuit doesnot look favorablyon this type ofpleading.

       With regardto connectingparticularrepresentations    to particulardefendants,
                                                                                   the
       complaintallegesnumerousrepresentations     attributedonly to the "defendants."
       For example,paragraph68 of the complaintalleges:"Duringthe courseofthe
       project,defendants continuallymisrepresented   to theplaintiffsandthe classthe
       cost,statusandexpectedcompletiondateofthe project.rr" * * Suchallegations,
       which fail to specifythe time,place,speaker, andsometimes     eventhe contentof
       the allegedmisrepresentations, lack the "particulars" requiredby Rule 9(b).See
       e.9.,Denny  v. Barber, 516F.2d  465,469  (2d Cir. 1978); Segalv. Gordon,467
       F.2d 602,608(2d Cir. 1972).

                                             ,802 F.2d49,54(2ndCir. 1986)
                             Luce v. Edelstein

5.     The Comnlaintallegesa "conspiracy"producedby the imaginationofthe olaintiffs.

       not by a plot conceivedon the Isle of Man.

       After identifying the corporaterole ofeach defendant,the Complaint, at paragraph19,

begins to outline the structureof the allegedconspiracy. What makesthe individual activities of
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eachdefendanta componentofa conspiracyis that each,"in doing the things herein allegedwas

acting within the courseand scopeof such agencyand employmentand with the permissionand

consentofhis co-defendants."[Emphasisadded.]This is repeatedverbatim and attributed,

seriatim,to eachdefendantin paragraphs21,23,26,28,30,32, and 34. The activitiesallegedto

constitutethe "conspiracy"are describedin paragraphs
                                                   35,36,37,38, 39, 40, 41,42, and 43.

These 17 paragraphspurporting to define both the structureand operationof a conspiracyaref

alleged"unon informationand belief."

       The "fact" ofa conspiracyis summarizedin paragraph8l: "Plaintiff is informedand

believesand basedthereonallegesthat eachof the defendants...agreed
                                                                amongthemselves...to

inducePlaintiff...totransferto them...$2,000,000
                                              by devisingand carryingout a plan..."

        Ifa fraudulentconspiracyis allegedpursuantto Rule 10(b)-5,and the elementsof the

fraudulent conspiracyare stated"upon information and belief," then the particularity

requirementsof Fed.R.Civ.P9(b) are satisfiedonly if the Complaint stateswith parlicularity all

the factson which that belief is formed. Rombach v. Chang,supra,355 F.3d at170.The

imagination of the plaintiffs or their counsel may have produceda "belief in a conspiracy,but

their Complaint is singularly lacking in "information" to support it.

6.     Even upon information and belief. the Complaint doesnot allese a 3'conspiracy."

       There are three elementsto a conspiracy:(1) an intent that illegal conduct be performed;

(2) an agreementwith one or more personsto engagein or causethe performanceofthat

conduct;and (3) the commission ofan overt act in pursuanceofthe agreementby any one or

more of the personswho made the agreement.The first elementis that the defendanthad the
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intent that conduct constituting the illegal act be performed. (See: State v. Morales, 84 Conn.

App.283(2004).

        Because
              theComplaint
                         is virtuallydevoidoftheconcise
                                                      statements
                                                              required
                                                                     by Rule8(e)

it is well nigh impossibleto discem what conductthe Plaintiffs claim to be illegal on the part of

the defendants.As best can be deciphered,it is that Debit Direct "diverted" funds in its treasury

by purchasinggoods and service from three of the defendantcorporations(paragraphs35 and

6l ).

        "Diversion:The unauthorizedusedof funds."Black's Law Dictionary. The Complaint


doesnot allege that the use offunds describedin paragraphs35 and 61 was "unauthorized."The

mostpermissivereadingof the Complaintcould infer a claim that O'Halloran "mismanaged"the

funds but (a) the Complaint doesnot say that and (b) if it did, the plaintiffs' remedy would be a

                                                                                   "In
shareholdersderivative action, claiming no direct compensationto the plaintiffs.         the event

the corporateinsider breacheshis fiduciary duty, [the plaintiffs] may bring suit in the nameofthe

corporationitself to make the corporation,and indirectly themselves,whole." O'Connor &

Assoc,v. Dean Witter Reynolds"Inc., 529 F.Supp.1179,1184(S.D.N.Y. 1981).

         Absent a concisestatement,factually suppofted,that O'Halloran planned with othersto

do somethingillegal, this Complaint appearsdesigned,like all strike suits, simply to encourage

settlementor the extensivediscovery proceduresrequired to force the plaintiffs to stateexactly

what they mean.

'7.     The "red herrins" of allesingan "omissionofa materialfact"

        Typicalofthe Complaint'sdesperate
                                        searchfor a causeofaction wherenonein fact can
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be discoveredis the spuriousclaim that the plaintiffs were defraudedby O'Halloran's failure to

disclosethe fact that some years ago (how long ago is not mentioned)he was reprimandedby a

regulatory agency in lreland! The notion that IM Partnerswould not have contemplated

purchasinga controlling interest in an Isle qf Man corporationin which O'Halloran would have

absolutelyno executive authorityr if they had known that O'Halloran had in the distant past

some disputewith corporateregulatorsin Ireland is so self-evidently preposterousas to be almost

unworthy offuture comment. The purposeof"full disclosure"is to ensure"that investorsget

what they think they are getting."Chemical Bank v. Arthur Andersen & Co." 726 F.2d,930,

943 (2d Cir.1984). Rule 10b-5 thus makesunlawful any material omission regarding the value of

the securities,not the biography ofa current corporateofficer who is no longer to have a role in

the management
             ofthe company.

       As will be shown below, it appearsthat at the time they made their "investment," IM

Partnersintendedto re-structureDebit Direct - probably transforming it from a corporationinto a

limited paftnership,but at the very least into a corporationin which O'Halloran would become

the passiveholder ofpreferred stock that had no voting power.

       In a corporatesetting, the most obviously material information would be facts
       concerningthe issuer,the corporation.In a limited parlnershipsetting, information
       about the issuer- the partnership would be ofno value if the partnershipdid
       not predatethe investor'sentry into the venture,and it might be of little value even
       if the parlnershipdid have a history of operation.In the latter case,information
       about the partnership'sprevious record would be material, but it would not, alone,
       be suffrcient. The information crucial to the investmentdecision would be that
       concerningthe entity which was responsiblefor the successor failure ofthe
       entemrise.


       'See
              Section l0 of this Memorandum. rnfra.
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                     Securities& Exch,Com'nv. Murphy. 626F.2d 633,643(9thCir. 1980)

      Accordingto the Memorandumthattheplaintiffsallegethey "reliedupon" to maketheir

                                                         who wereto be "responsible
investment(footnotet herein),it wastheplaintiffsthemselves                        for

the success
          or failureof the enterprise."Paradoxically,
                                                   theComplaint,takenasa whole,canbe

readto asserlthat theplaintiffsbreacheda fiduciaryduty to themselves
                                                                   !

8.    The plaintiffs' clairn of "investins $2.000.000in Debit Direct" is intentionally false

      and misleadins.

      It is undisputedthat the plaintiffs have spent$2,000,000. But one-quarterof that amount

- $500,000- wasnot an investmentin Debit Direct. Thattheplaintiffsknow this to be trueand

                             the amountoftheir investment(furtherevidenceof a strike
haveintentionallymisrepresented

suit) canbe inferredby carefullyreadingthe deliberateambiguitywith which the claimis stated

in theComplaint.(Emphasisaddedin eachparagraph
                                             below.)

             Paragraph49. "...on or aboutNovember28, 2003 Plaintiff wired to
             DefendantDebit Direct a total of $500,000..."

             Paragraph49. "...on or about December3, 2003 plaintiff wired to
             DefendantO'Halloran an additional$500,000..."

             Paragraph51. "...on or aboutMarch 16,2004,Plaintiff wired an
             additional$1,000,000to DefendantDebit Direct..."

             Paragraph52. "...Plaintiffhaswired a total of$2,000,000collectivelyto
             DefendantsO'Halloran and./orto Debit Direct."

      What is carefully omitted from the Complaint is the fact that on the day before the

December3 wire to O'Halloran, Marino and O'Halloran agreedthat IM Parhers would invest

$500,000in an entirely separatejoint venturebetweenthem and having nothing whatsoeverto do
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with Debit Direct.(Exhibit 1 annexedhereto.) Thatthe December3 wire wassentin accordance

with thisjoint ventureis evidencednot only by the dateofthe second$500,000wire, but by the

implicit admissioncontainedin the too-clever-by-half-wording
                                                          of the Complaint.

9.     Although the claim that O'Halloran had a conflict of interest is central to the

       plaintiffs' entire 'oconspiracy"thesis.a closereading disclosesthat the Complaint

       doesnot allegethat such a conflict in fact existed- or that O'Halloran himself would

       benefit from the allesed conspiracy.

       This is what the plaintiffs hope the Court will think they are alleging - if the Court reads

all 182 paragraphsof the Complaint without thinking too much about them: that O'Halloran

pretendedto be acting on behalfofDebit Direct, that he persuadedthe plaintiffs to parlicipatein

Debit Direct, but that all of the time O'Halloran was really trying to furlher his own interestin

companiesother than Debit Direct, and that this conflict ofinterest was both a breachofhis

fiduciary duty to the plaintiffs and the linchpin of a conspiracy.

       In one form or another,this conceptis scatteredso liberally throughout 182 paragraphs

that it is easyto miss the fact that the Complaint definesthe relationshipamong the deiendantsin

such a way as to expresslystatethat O'Halloran had no conflicts ofinterest whatsoever. Absent

a conflict of interest,O'Halloran'sallegedmisbehaviorwould be entirelyun-motivated,and

without his participation, the alleged conspiracycould not have taken place.

       Not a single fact is alleged in the Complaint showing, implying, or inferring that

                                                                 "diversion" of Debit Direct
O'Halloran stood to benefit from what the plaintifls claim was a

assets.Indeed, exactly the oppositewould be true sinceaccordingto the Complaint the onlv



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financial interestO'Halloran had in any of the four defendantcompanieswas in Debit Direct!

And there is no allegation that Debit Direct had any interestwhatsoeverin any other corporate

defendant.Since there are no facts allegedthat O'Halloran would benefit from the purported

fraud, the plaintiffs' "allegations here fail to give rise to the requisite strong inferenceof

fraudulentintent." Campaniello Imports v. Saporiti Italia, 117F.3d 655,663 (2nd Cir. 1997).

        According to the Complaint, O'Halloran is singularly free of any multiple corporateroles

and all conflicts of interest. He is identified by the plaintiffs solely and exclusively as the

majority shareholderand controlling officer ofone company,Debit Direct, and his activities,

accordingto the Complaint, consistedexclusively of attemptingto finance the developmentof

that company.

        The alleged hidden relationshipsthat fuel the so-calledconspiracyare describedin variant

form as "UndisclosedConflictedTransactions,"
                                          and "UndisclosedConflictedRelationships,"

terms which are repeated,by actual count,43 times beginning at paragraph62 in the 182-

paragraphComplaint.' But the simple fact is, there were no conflicts to disclose.

        "ln short, the complaint identifies no personalinterestsufficient to establishmotive, and


the district court properly concludedthat plaintiffs' complaint againstindividual defendantsmust

be dismissedfor failureto pleadscienter."Rombach v. Chans. supra,355 F .3d 164,at 177.

         "In the absenceofany allegation offacts amountingto fraud or scienter, the claims in...


the complaint that defendant's...accountwas fraudulent..,being mere conclusions,are


        'The
               capitalization of these tems, employed throughout the Complaint, would not surviye the magic
marker ofany respectableeditor ofany soft oftext. Here, though, somethingelse is afoot. The device appearsto be
an cffort to pretend that these are either terms ofart or titles ofdocuments or headingsfor lists of factual
allegations. ln truth, they are none ofthese.

                                                      ll
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insufficientto savethis complaint.We thereforeaffirm [thedismissal]."Shemtobv. Shearson.

Hammill & Co., 448F.2d442,445(2ndCir. 1971).

10.                                 is deliberatelyemployedby the plaintiffsin
       The Memorandumof Understanding

       sucha way asto concealthe fact that they lack standingto oursueany ofthe

       11causesof actionallegedin the Comnlaint.

       As furlherevidencethat this is indeeda strikesuit,the Courl is herebyintroducedto the

Memorandumof Understanding
                         signedby O'HalloranandMarino on November17,2003.r The

          attachedto andmadea part of the Complaint,first entersthe plaintiffs' storyat
Memorandum,

paragraph
        47. It re-appears
                        34 timessprinkledrandomlythroughthe Complaint'sremainingI 35

paragraphs,
         repeatedlyallegingessentiallythat(1) Marinowasfraudulentlyinducedto signthe

Memorandumand(2) the fundsweresentto Debit Directin accordance
                                                             with the termsand

conditionsof thatMemorandum.

        On its face,the Memorandumcontainsfairly simpleprovisions.It appearsto

          a purchaseby IM Partnersof a 45%o
contemplate                               stakein Debit Direct. This is to be

accomplished
          by O'Hallorantumingbackonehalf of theshares
                                                    he ownsin DebitDirect,andIM

Partnerspurchasingfrom Debit Directwhatwouldnow becometreasurystock.O'Halloran

himselfis not to be paid for the stockhe makesavailableto Debit Direct,nor is he to receive

anvootlion of the IM fundsto be sentto DebitDirect. IM Partnersis to haveexclusivecontrol




       "'Every goodcaserequiresa mysterydocument."WestchesterFire InsuranceComDanvv.
Trntalo.273F. Supp.7,12,  fn 5 (1967).Thismaynotbea goodcase,butthisMemorandum        does
suggesta mystery:what did theplaintiffsthink theyweredoingwhenthey sent$ I ,500,000to the Isleof
Man?

                                               l2
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over the managementof Debit Direct. O'Halloran is henceforthto be a passiveinvestor and will

have no official capacity or decision-makingauthority within the company. Since "IM shall

solely dictate the final structureof Debit Direct and this proposedtransactionand the location of

Debit Direct," there is a clear implication that IM Paftnersintends to re-organizethe company

into what the other provisions of the Memorandumstrongly suggestwill be a limited partnership.

The businessof Debit Direct is not describedin the Memorandum (nor is it defined in the

Complaint); the timing of the transfer of funds by IM to Debit Direct is not specified; and the

Memorandum doesnot refer to what Debit Direct is to do with the IM funds.

       The Memorandum concludesby stating specifically that it is "not binding on the parties"

and that they will not be so bound until a formal contractis negotiatedand signed,which is to

occurwithin six weeks,i.e.,by December31,2003. One is entitledto assume- althougha

simple, concisestatementto this effect is strangelyabsentfrom the Complaint's verbose

narrative - that no formal contract was ever signed. Clearly, the November 17 Memorandumis

not an enforceablecontract both becauseit expresslystatesit is not and, "in the absenceof

            an executorypromiseis unenforceable."StateNational Bank v. Dick. 164Conn.
consideration

s23,s29(1913).

       Theplaintiffsapparently                     doesprovidethemwith
                            believethattheMemorandum

         rights.Thusparagraphs
contractual                 83,121,and146oftheComplaint:

       83. Plaintiff has performed all covenantsand promisesrequired to be perfotmed
       on its part in accordancewith the termsand conditionsof the November17,2003
       Memorandum describedherein as evidencedby the November 28, 2003, the
       December3, 2003 and the March 16, 2004 Wires. [Emphasisadded.]




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                                                judgmentof the CourtrescindingtheNovember
       121. ...Plaintiffis entitledto declaratory
       ll ,2003Memorandum

       146. A judicial declarationis necessary
                                             andappropriate    at this time underthe
       circumstances in orderthatPlaintiff may ascertainits rightsanddutiesunderthe
       agreements describedhereinandmorespecificallytheNovember1l ,2003
       Memorandum...

                             of paragraph83 is thattheMemorandumbecameenforceable
       The implicit suggestion

whentheplaintiffswired fundsto Debit Direct. This is essentiallya claim of contract"by

estoppel."
       "Underourwell-established  law,anyclaimofestoppelis predicated on proofof
       two essentialelements:the partyagainstwhomestoppelis claimedmustdo or say
       somethingcalculatedor intendedto induceanotherpartyto believethat certain
       factsexistandto act on thatbelief;andthe otherpafiy mustchangeits positionin
       relianceon thosefacts,therebyincurringsomeinjury." Bozziv. Bozzi,177Conn.
       232,242.StateNationalBank v. Dick.supra

                                               sucha claim - andprohibitsit: "...this
       But the Memorandumspecificallyanticipates

            not bindingon thepartiesheretoandmaynot berelieduoonasthebasisof a
Memorandum...is

contractblr estooDel."

       Furlher,the Complaint'sdescriptionof theactivitiesof the defendants
                                                                         allegedto

comprisethe "diversion"of Debit Directfundsis setforlh in paragraph618. The dateson which

                                          took placearenotablynot alleged.Sinceplaintiffs
the actsconstitutingthe diversionsupposedly

claimto havesentfundsto Debit Directbeginningon November28,2003,andendingon March

16,2004,(paragraphs
                  48, 51) plaintiffswouldhavehadfully four monthsto discoverhow those

fundswerebeingspentby the company."It is fundamental
                                                  thata personwho claimsanestoppel

mustshowthathe hasexercisedduediligenceto know thetruth,andthat he not only did not

knowthetruestateofthingsbut alsolackedanyreasonably
                                                 available
                                                         meansofacquiringsuch

                                             1.4
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knowledge."
         Snear-Newman"
                    Inc. v. ModernFloorsCorp., 149Conn.88,91-92.Because
                                                                      the

                                      discoveryof the"diversion"to reachtheir
plaintilfsrely uponthe claimedsubsequent

retrospective
            conclusionof fraudulentmisrepresentation,
                                                   this would appearto be whatthecourt

                                                         labeledas"an example
in Dennyv. Barber, 516F.2d 465,470Q"dCirc.1978)dismissively                 of

allegingfraudby hindsight."

       The only permissibleconclusionwith respectto the legaleffectofthesetransactions
                                                                                     ls

that asa matterof law the fansmittal bv theolaintiffsof fundsto Debit Direct constitutedan

offer to purchasesharesin the company.

       Query:wasthe offer accepted?Plainly,theplaintiffsdo not know. That is why theyask

                                                                         judgment,but
the Court,in paragraph146of the Complaint,for whatsoundslike a declaratory

is reallya request
                for anadvisory
                             opinion.

       Arguably,the offer might havebeenaccepted     Debit Direct keptthe money.On
                                               because

the otherhand,stockin Debit Directwasneversentto theplaintiffs,andthe plaintiffsdo not

allegethattheyaskedfor the shares,only thattheydemanded
                                                      a returnof the fundsor an un-

specifiedinterestin eitherthe companyor its assets(paragraph
                                                           78).

       It is not the responsibilityof the defendants
                                                   or of the Courtto determinethe statusofthe

plaintiffsin this litigation. While altematepossibilitiesexist,the simpletruth is thatthe

Complaintdoesnot includea simple,concisestatement            purchased
                                               thatIM Partners            rn
                                                                     shares

DebitDirect.

       Absentsucha directallegation,andin light of the inherentambiguityof the

Memorandumandthe vagueness
                         with which its role in thesetransactionhasbeenpleaded,there


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canbe no interpretationotherthanthattheplaintiffshaveasa matterof law failedto establish

thattheyhavestandingto bring this lawsuit. As explained,with amplecitation,by a District

Courtin thecaseof AmericanNursingCareof Toledov. Leisure.609F. Supp.419,429

(N.D.Ohio
        1984):

       The Courtfindsthat sinceno definitivepromisesor agreements    weremadeto
       issuethe stock,thereis no fraudclaim.As discussed  above,the plaintiffswerenot
       purchasers of securities.Accordingly,theyhaveno standingto asserlantifraud
       claimsunderany of thesesections.Blue ChipStampsv. Manor Drug Stores,421'
       U.S.723,7 50-55, 95 S.Ct.19 I 7, 1932-34, 44 L.Ed.2d539( 1975);Southeastern
       WasteTreatment,  Inc. v. Chem-Nuclear  Systems, Inc.,506 F. Supp.944 (N.D.Ga.
       1980);Wolfsonv. LittonIndustries,  lnc.,336F. Supp.1039(S.D.N.Y.1971).

                                                                                    from
       This is not to saythat IM Partnersmaynot be entitledto a retumofthe $1,500,000

Debit Direct(but not from O'Halloran)it ofleredto pay for the shares.But that is a far cry from

a 182-page        complaintoffraud!
         strike-suit

11.    The SecondCauseof Action is a narticularlyesregiousdisplayofthe mis-useof

       Federalnleadingsby the nlaintiffs.

       Noneof the 1I causesof actiontrumpetedby the Complaintcanwithstandrational

                                                     Unfair TradePracticesAct is the
analysis.But of all them,the claim undertheConnecticut

outstandingexampleof the frivolousnatureof this entireloquaciousandramblingpleading.For
                                                         "CUTPA doesnot applyto
nearly20 yearsthe Connecticutcourlshavehelduniformlythat

deceptivepracticesin the purchaseandsaleof securities."Russellv. DeanWitter Reynolds.

Inc.,200Conn.172(1986).Thisrulinghasbeenconfirmedasrecentlyaslastyear.McCannv.

Screnci.2003Ct. Sup.12284,36CLR 68 (Nov.26,2003).Thereis simplyno reasonotherthan

                                                     for the inclusionof this,among10
an attemptto intimidateO'Halloran(andhis co-defendants)


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otherfrivolouscausesofaction.

12.    Conclusion

       As demonstrated
                     above,the fraudandconspiracyclaimspropounded
                                                                by this Complaint

arespuriousin the extreme.Theylack not only particularity,but rationality.On a motionto

dismissit is only well pleadedfactualallegationsthattheCourtis obligedto acceptastrue.

Papasanv. Allain, 478U.S.263(1986),Olkevv. Hynerion1999Term Trust Inc..98 F.3d2,

5 (2ndCir. 1996).

                                      Federaljurisdictiononly throughtheir 10b-5claim,
      Becausethe plaintiffshaveasserted

andbecausethatclaim cannotbe sustained,theCourthasno basisfor exercisingsupplemental

jurisdictionovertheremainingpendantstateclaims,andall ofthe 11causes
                                                                   ofactionin the

Complaintshouldbe dismissed.
                          HarscoCorp.v. Segui,91F.3d331,348(2ndCir. 1996).

      Themotionhereinshouldbe sranted.

Dated:January
            3 1,2005
                                          THE DEFENDANT
                                          JACKO'HALLORAN


                                          BY
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                         LINITED STATESDISTRICTCOURT
                            DISTRICTOF CONNECTICUT


IM PARTNERSandits GeneralParlner              )     Civil Action No.
DNAIEL E. MARINO,                             )     3:04-CV-16s1  (JCH)
                                              )
                   Plaintiffs,                )
vs.                                           )
                                              )
DEBITDIRECTLIMITED, et al.                    )
                                              )
                   Defendants                 )



                           CERTIFICATION OF SERVICE

      I certifythat I havemaileda copyof theforegoingDefendantJack O'Halloran's Notice

of Motion,Motion to Dismiss,and Memorandumof Law In Supportof his Motion to

Dismissvia firstclassmail,postage
                                prepaidthis31"'dayof January,
                                                           2005to:

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SkancoBusiness   SystemsLimited and
RestartLimited


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Dated:January31,2005
                                  THE DEFENDANT
                                  JACKO'HALLORAN


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